         Case 1:10-cr-00287-BLW Document 36 Filed 12/27/10 Page 1 of 3




                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,                        Case No. 1:10-CR-287-BLW

                      Plaintiff,
                                                  ORDER CONTINUING TRIAL
        v.                                        AND TRIAL READINESS
                                                  CONFERENCE
 ABU JALLOH, et al.,

                      Defendants.


       The Court has before it Defendant Abu Jalloh’s Motion to Continue Trial (Dkt.

34). Abu Jalloh states that counsel needs additional time to do investigation, review

discovery, and prepare for trial. Abu Jalloh requests an additional 30-60 days.

       Under all these circumstances, the Court finds that a continuance is needed to give

defense counsel an opportunity to provide an effective defense. Thus, a continuance is

warranted under 18 U.S.C. § 3161(h)(7)(B)(iv), which authorizes a finding of excludable

time when the refusal to grant a continuance would “deny counsel for the defendant . . .

the reasonable time necessary for effective preparation . . . .” Under these circumstances,

the interests of justice in allowing the defense time for effective preparation outweighs the

defendant’s and the public’s interest in a speedy trial under 18 U.S.C. § 3161(h)(7)(A).

The statements of counsel establish that the trial should be reset on April 18, 2011, at 1:30

p.m. at the United States Courthouse in Bosie, Idaho. The Court finds that the period of

time between the present trial date and the new trial date is excludable time under the
         Case 1:10-cr-00287-BLW Document 36 Filed 12/27/10 Page 2 of 3




Speedy Trial Act.

      Co-defendants Mamoduo Diallo, Mamadou L. Diallo, and Ibrahim A. Jalloh have

not moved for a continuance. However, they have not opposed the motion. Under the

Speedy Trial Act, 18 U.S.C. § 3161(h)(6), excludable time exists for “a reasonable period

of delay when the defendant is joined for trial with a co-defendant as to whom the time for

trial has not run and no motion for severance has been granted.” Accordingly, pursuant to

18 U.S.C. § 3161(h)(6), the Court finds that the excludable time found for the defendant

moving for a continuance also applies to the co-defendants. Thus, the trial for Co-

defendants Mamoduo Diallo, Mamadou L. Diallo, and Ibrahim A. Jalloh will be moved to

April 18, 2011 as well. Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED that the Motion to Continue Trial

(Dkt. 34) shall be, and the same is hereby GRANTED, and that the present trial date be

VACATED, and that a new trial be set for April 18, 2011 at 1:30 p.m. in the U.S.

Courthouse in Boise, Idaho.

      IT IS FURTHER ORDERED that the period of time between the prior trial date

and the new trial date be deemed EXCLUDABLE TIME under the Speedy Trial Act, 18

U.S.C. § 3161(h)(6) and 7(A)&(B)(iv).

      IT IS FURTHER ORDERED that the current trial readiness conference be

VACATED, and that a new trial readiness conference be conducted by telephone on April

7, 2011, at 4:00 p.m. The Government shall place the call to (208) 334-9145 with

opposing counsel on the line.
       Case 1:10-cr-00287-BLW Document 36 Filed 12/27/10 Page 3 of 3




      IT IS FURTHER ORDERED that all pretrial motions shall be filed on or before

March 16, 2011.

                                      DATED: December 27, 2010



                                      B. LYNN WINMILL
                                      Chief U.S. District Court Judge
